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P 961-080889-01
                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

NICOLE ARCENEAUX and       * CIVIL ACTION NO.: 2:18-cv-11109
JERRAL ROME                *
                           * JUDGE: Jay C. Zainey
versus                     *
                           * SECTION: A
TOBY A. THORTON, BLACKHAWK *
SPECIALTY TOOLS, LLC, and  * MAGISTRATE: Karen Wells Roby
LIBERTY MUTUAL INSURANCE   *
COMPANY                    * DIVISION: 4
***************************************************


                                          ANSWER


        NOW INTO COURT, through undersigned counsel, come Defendants, Blackhawk

Specialty Tools, LLC and Liberty Mutual Fire Insurance Company which answer the Petition

for Damages of Plaintiffs as follows:

                                               1.

        The allegations contained in Paragraph 1 require no answer of your Defendants.

                                               2.

        The allegations contained in Paragraph 2 are denied, except to admit their status as

foreign corporations authorized to do and doing business in Louisiana.

                                               3.

        Defendants deny the allegations contained in Paragraph 3 as the case has been removed

to the U. S. Federal District Court for the Eastern District of Louisiana under diversity

jurisdiction.

                                               4.
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Defendants deny the allegations contained in Paragraph 4.

                                       5.

Defendants deny the allegations contained in Paragraph 5.

                                       6.

Defendants deny the allegations contained in Paragraph 6.

                                       7.

Defendants deny the allegations contained in Paragraph 7.

                                       8.

Defendants deny the allegations contained in Paragraph 8.

                                       9.

Defendants deny the allegations contained in Paragraph 9.

                                      10.

Defendants deny the allegations contained in Paragraph 10

                                      11.

Defendants deny the allegations contained in Paragraph 11.

                                      12.

Defendants deny the allegations contained in Paragraph 12.

                                      13.

Defendants deny the allegations contained in Paragraph 13.

                                      14.

Defendants admit the allegations contained in Paragraph 14.

                                      15.

Defendants deny the allegations contained in Paragraph 15.
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                                               16.

       Defendants deny the allegations contained in Paragraph 16.

                                               17.

       The allegations of Paragraph 17 are denied, except to admit that Liberty Mutual Fire

Insurance Company issued a policy of liability insurance in which the named insured appeared

as Blackhawk Specialty Tools, LLC, and insuring the defendant Thornton, as an employee in the

course and scope of his employment at the time of his alleged negligence, for any alleged fault.

Defendants plead said policy in full as if copied herein in extenso, and deny any allegations that

may tend to enlarge, contradict, or contravene the express terms, conditions, limitations, and

exclusions of said policy.

                                               18.

       The allegations of Paragraph 18 are denied, except to admit that Liberty Mutual Fire

Insurance Company issued a policy of liability insurance in which the named insured appeared

as Blackhawk Specialty Tools, LLC, and insuring the defendant Thornton, as an employee in the

course and scope of his employment at the time of his alleged negligence, for any alleged fault.

Defendants plead said policy in full as if copied herein in extenso, and deny any allegations that

may tend to enlarge, contradict, or contravene the express terms, conditions, limitations, and

exclusions of said policy.

                                               19.

       Defendants deny the allegations contained in Paragraph 19.

                                               20.

       Defendants deny the allegations contained in Paragraph 20.

                                               21.
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       The allegations contained in Paragraph 21 require no answer of your Defendants.

       AND NOW FURTHER ANSWERING, Defendants aver:

                                                 22.

       Defendants deny any negligence whatsoever on their part. In the alternative, Defendants

specially plead the negligence of Plaintiff Nicole Arceneaux in such respects as may be shown

at the trial of this matter. In the further alternative, should this Honorable Court find any

negligence whatsoever on the part of the Defendants, which negligence is denied, then any

award rendered in favor of Plaintiffs should be reduced in proportion to the degree or percentage

of negligence attributable to the Plaintiff, Nicole Arceneaux.

                                                 23.

       FURTHER ANSWERING, Defendants specially plead the negligence or fault of third-

parties for whom they are not responsible in such respects as may be shown at the trial of

this matter.

                                                 24.

       FURTHER ANSWERING, if the evidence at the trial of this matter reflects that Plaintiffs

failed to mitigate their damages, then same is pled herein as an affirmative defense as a bar to

and/or in mitigation of any right of recovery by the Plaintiffs.

                                                 25.

       FURTHER ANSWERING, Defendants are entitled to a credit for any and all underlying

insurance, if there be any, to the extent which may be shown at trial, whether such insurance may

be primary, secondary or otherwise.

                                                 26.
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          FURTHER ANSWERING, if it is shown that Plaintiffs’ injuries were pre-existing or

were caused by subsequent accidents or injuries, in part or in whole, then it is specifically pled

herein that Plaintiffs are not entitled to compensation for any injury, disease or damage not

caused by the incident sued upon herein.

                                                   27.

          FURTHER ANSWERING, if the evidence at trial reflects that this accident was caused

in full or in part by a sudden emergency which was created through no fault of the Defendants

then same is pled herein as an affirmative defense and as a bar to and/or in mitigation of any

recovery herein.

                                                   28.

          FURTHER ANSWERING, Defendants plead all limitations and defenses of Louisiana

Act 1476 (1997) as amended by Act 921 (2008) and Louisiana Compulsory Motor Vehicle

Liability Law (La.R.S. 32:866) that may be applicable to any plaintiff in the above captioned

matter.

                                                   29.

          FURTHER ANSWERING, Defendants request a trial by jury as to all issues so triable.



          WHEREFORE, Defendants, Blackhawk Specialty Tools, LLC and Liberty Mutual Fire

Insurance Company, pray that this Answer be deemed good and sufficient and that after due

proceedings are had, there be judgment herein in favor of the Defendants and against the

Plaintiffs, dismissing their suit at their costs and for all general and equitable relief. Defendants

further pray for trial by jury on all issues so triable.
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                                                  Respectfully Submitted,

                                                  LAW OFFICES OF ROBERT E. BIRTEL

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of November, 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing upon counsel for all parties.

                                                  LAW OFFICES OF ROBERT E. BIRTEL


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